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                                      United States Bankruptcy Court
                                      Northern District of Oklahoma
In re:                                                                                 Case No. 19-10881-M
Kassie Lynn McClung                                                                    Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 1085-4          User: ELSmith                Page 1 of 2                   Date Rcvd: Apr 30, 2019
                              Form ID: 309A                Total Noticed: 37


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 02, 2019.
db             +Kassie Lynn McClung,    4413 E. 26th St.,    Tulsa, OK 74114-4858
tr              Scott P. Kirtley,    Riggs, Abney, Neal, Turpen, Orbison,     502 West 6th Street,
                 Tulsa, OK 74119-1016
smg             Oklahoma Tax Commission,    General Counsel’s Office,     100 N Broadway Ave, Suite 1500,
                 Oklahoma City, OK 73102-8601
2773065        +Account Management Resources,     726 West Sheridan Ave.,    Oklahoma City, OK 73102-2412
2773068        +Amcol Systems Inc,    111 Lancewood Rd,    Columbia, SC 29210-7523
2773073        +Credit Bureau,    123 W. 7th,    Stillwater, OK 74074-4068
2773084        +Department of Education,    11100 Usa Pkwy,    Fishers, IN 46037-9203
2773090        +Elan Financial Service,    824 N 11th Street,    Saint Louis, MO 63101-1016
2773093        +OMNI Medical Group,    Dept 852,    Tulsa, OK 74182-0001
2773092        +Oakland Medical Center,    275 W MacArthur Blvd.,    Oakland, CA 94611-5641
2773095        +Rev-1 Solutions, Llc,    517 Us Highway 31 N,    Greenwood, IN 46142-3932
2773096        +South Central Emergency Services,     8801 S 101st E Ave,    Tulsa, OK 74133-5716
2773097        +Stillwater Medical Center,    1323 W 6th Ave,,    Stillwater, OK 74074-4399
2773105         Stillwater Utility Authority,     S Lewis St.,   Stillwater, OK 74074
2773115         US Department of Education,    Po Box 4222,    Iowa City, IA 52244
2773113        +US Department of Education,    2401 International Lane,     Madison, WI 53704-3121
2773112        +US Department of Education,    2505 S Finley Rd,    Lombard, IL 60148-4867
2773122        +US Department of Education,    Attn: Bankruptcy,    2401 International Lane,
                 Madison, WI 53704-3121

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: jkm@joelkmitchell.com May 01 2019 01:26:25        Joel K. Mitchell,
                 MITCHELL LAW OFFICE,    1318 W Main Street,    Collinsville, OK 74021
smg             E-mail/Text: bankruptcy@oesc.state.ok.us May 01 2019 01:26:54        Oklahoma Empl. Sec. Comm.,
                 PO Box 53039,   Oklahoma City, OK 73152-3039
smg            +E-mail/Text: bankruptcy@tulsacounty.org May 01 2019 01:26:57        Tulsa County Treasurer,
                 500 S. Denver,   Suite 323,    Tulsa, OK 74103-3840
ust            +E-mail/Text: beth.criner@usdoj.gov May 01 2019 01:26:34        Office of the United States Trustee,
                 224 South Boulder Avenue,    Suite 225,    Tulsa, OK 74103-3026
2773067        +EDI: AFNIRECOVERY.COM May 01 2019 05:23:00       Afni,    Po Box 3097,
                 Bloomington, IL 61702-3097
2773070        +E-mail/Text: paymentprocessing@avanteusa.com May 01 2019 01:26:26        Avante,
                 3600 South Gessner,    Houston, TX 77063-5357
2773072        +E-mail/Text: CCICollectionsGlobalForms@cox.com May 01 2019 01:26:42        Cox Communications,
                 11811 E. 51st Street S.,    Tulsa, OK 74146-6000
2773071        +E-mail/Text: CCICollectionsGlobalForms@cox.com May 01 2019 01:26:42        Cox Communications,
                 1400 Lake Hearn Dr.,    Atlanta, GA 30319-1464
2773080        +EDI: NAVIENTFKASMDOE.COM May 01 2019 05:23:00       Department Of Education,     Po Box 9635,
                 Wilkes Barre, PA 18773-9635
2773091        +EDI: MID8.COM May 01 2019 05:23:00       Midland Funding,    2365 Northside Drive,
                 San Diego, CA 92108-2709
2773104        +E-mail/Text: deanna@still-rad.com May 01 2019 01:26:31        Stillwater Radiology,
                 4721 W 6th Ave Suite 130,    Stillwater, OK 74074-1549
2773107        +EDI: RMSC.COM May 01 2019 05:23:00       Synchrony Bank,    PO Box 530942,
                 Atlanta, GA 30353-0942
2773108        +EDI: RMSC.COM May 01 2019 05:23:00       Synchrony Bank,    P.O. Box 530914,
                 Atlanta, GA 30353-0914
2773110        +EDI: RMSC.COM May 01 2019 05:23:00       Synchrony Bank,    Po Box 960013,
                 Orlando, FL 32896-0013
2773111         EDI: RMSC.COM May 01 2019 05:23:00       Synchrony Bank,    Po Box 965013,
                 Orlando, FL 32896-5013
2773106        +EDI: RMSC.COM May 01 2019 05:23:00       Synchrony Bank,    Po Box 965024,
                 Orlando, FL 32896-5024
2773109        +EDI: RMSC.COM May 01 2019 05:23:00       Synchrony Bank,    P.O. Bank 960061,
                 Orlando, FL 32896-0061
2773089         EDI: USBANKARS.COM May 01 2019 05:23:00       Elan Financial Service,    Po Box 108,
                 Saint Louis, MO 63166
2773088         EDI: USBANKARS.COM May 01 2019 05:23:00       Elan Financial Service,    Po Box 790084,
                 Saint Louis, MO 63179
                                                                                               TOTAL: 19

           ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
2773066*       +Account Management Resources,   726 West Sheridan Ave,   Oklahoma City, OK 73102-2412
2773069*       +Amcol Systems Inc,   111 Lancewood Rd,   Columbia, SC 29210-7523
2773074*       +Credit Bureau,   123 W. 7th,   Stillwater, OK 74074-4068
2773075*       +Credit Bureau,   123 W. 7th,   Stillwater, OK 74074-4068
2773076*       +Credit Bureau,   123 W. 7th,   Stillwater, OK 74074-4068
2773077*       +Credit Bureau,   123 W. 7th,   Stillwater, OK 74074-4068
2773078*       +Credit Bureau,   123 W. 7th,   Stillwater, OK 74074-4068
2773079*       +Credit Bureau,   123 W. 7th,   Stillwater, OK 74074-4068
2773081*       +Department Of Education,   Po Box 9635,   Wilkes Barre, PA 18773-9635
2773082*       +Department Of Education,   Po Box 9635,   Wilkes Barre, PA 18773-9635
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                                      Form ID: 309A                      Total Noticed: 37


             ***** BYPASSED RECIPIENTS (continued) *****
2773083*         +Department Of Education,    Po Box 9635,    Wilkes Barre, PA 18773-9635
2773085*         +Department of Education,    11100 Usa Pkwy,    Fishers, IN 46037-9203
2773086*         +Department of Education,    11100 Usa Pkwy,    Fishers, IN 46037-9203
2773087*         +Department of Education,    11100 Usa Pkwy,    Fishers, IN 46037-9203
2773094*         +OMNI Medical Group,   Dept 852,    Tulsa, OK 74182-0001
2773098*         +Stillwater Medical Center,    1323 W 6th Ave,,    Stillwater, OK 74074-4399
2773099*         +Stillwater Medical Center,    1323 W 6th Ave,,    Stillwater, OK 74074-4399
2773100*         +Stillwater Medical Center,    1323 W 6th Ave,,    Stillwater, OK 74074-4399
2773101*         +Stillwater Medical Center,    1323 W 6th Ave,,    Stillwater, OK 74074-4399
2773102*         +Stillwater Medical Center,    1323 W 6th Ave,,    Stillwater, OK 74074-4399
2773103*         +Stillwater Medical Center,    1323 W 6th Ave,,    Stillwater, OK 74074-4399
2773114*         +US Department of Education,    2401 International Lane,    Madison, WI 53704-3121
2773117*         +US Department of Education,    2401 International Lane,    Madison, WI 53704-3121
2773118*         +US Department of Education,    2401 International Lane,    Madison, WI 53704-3121
2773121*         +US Department of Education,    2401 International Lane,    Madison, WI 53704-3121
2773125*         +US Department of Education,    2401 International Lane,    Madison, WI 53704-3121
2773119*          US Department of Education,    Po Box 4222,    Iowa City, IA 52244
2773123*          US Department of Education,    Po Box 4222,    Iowa City, IA 52244
2773127*          US Department of Education,    Po Box 4222,    Iowa City, IA 52244
2773126*         +US Department of Education,    Attn: Bankruptcy,    2401 International Lane,
                   Madison, WI 53704-3121
2773116*         +US Department of Education,    2505 S Finley Rd,    Lombard, IL 60148-4867
2773120*         +US Department of Education,    2505 S Finley Rd,    Lombard, IL 60148-4867
2773124*         +US Department of Education,    2505 S Finley Rd,    Lombard, IL 60148-4867
                                                                                               TOTALS: 0, * 33, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 02, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 29, 2019 at the address(es) listed below:
              Joel K. Mitchell   on behalf of Debtor Kassie Lynn McClung jkm@joelkmitchell.com
              Office of the United States Trustee   USTPRegion20.TU.ECF@usdoj.gov
              Scott P. Kirtley   skirtleydocs@riggsabney.com, ok01@ecfcbis.com
                                                                                            TOTAL: 3
          Case 19-10881-M Document 7 Filed in USBC ND/OK on 05/02/19 Page 3 of 4
Information to identify the case:
Debtor 1              Kassie Lynn McClung                                               Social Security number or ITIN        xxx−xx−9772
                      First Name   Middle Name    Last Name                             EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name    Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Northern District of Oklahoma
                                                                                        Date case filed for chapter 7 4/29/19
Case number:          19−10881−M


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                              12/15

              For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code.
                                          An order for relief has been entered.
 This notice has important information about the case for creditors, debtors, and trustees, including information about
                          the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

                          The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Kassie Lynn McClung
2.      All other names used in the
        last 8 years

3.      Address                                  4413 E. 26th St.
                                                 Tulsa, OK 74114
4.      Debtor's attorney                        Joel K. Mitchell                                    Contact phone (918) 371−1896
        Name and address                         MITCHELL LAW OFFICE                                 Email: jkm@joelkmitchell.com
                                                 1318 W Main Street
                                                 Collinsville, OK 74021
5.      Bankruptcy trustee                       Scott P. Kirtley                                    Contact phone 918−587−3161
        Name and address                         Riggs, Abney, Neal, Turpen, Orbison
                                                                                                     Email: skirtleydocs@riggsabney.com
                                                 502 West 6th Street
                                                 Tulsa, OK 74119−1016
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
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Debtor Kassie Lynn McClung                                                                                                   Case number 19−10881−M


6. Bankruptcy clerk's office                      224 South Boulder Avenue, Room 105                              Hours open: Monday, Wednesday,
                                                  Tulsa, OK 74103                                                 Thursday, Friday 8:30 a.m. to 4:30
    Documents in this case may be filed at this                                                                   p.m., Tuesday 8:30 a.m. to 3:00
    address. You may inspect all records filed                                                                    p.m.
    in this case at this office or online at
    www.pacer.gov.
                                                                                                                  Contact phone 918−699−4000
                                                                                                                  www.oknb.uscourts.gov

7. Meeting of creditors                           May 29, 2019 at 01:30 PM                                        Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a                  Room B04, 224 South Boulder
    questioned under oath. In a joint case,       later date. If so, the date will be on the court                Avenue, Tulsa, OK 74103
    both spouses must attend. Creditors may
    attend, but are not required to do so.        docket.


8. Presumption of abuse                           The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                      File by the deadline to object to discharge or                  Filing deadline: 7/29/19
                                                  to challenge whether certain debts are
    The bankruptcy clerk's office must            dischargeable:
    receive these documents and any
    required filing fee by the following          You must file a complaint:
    deadlines.                                    • if you assert that the debtor is not entitled to
                                                    receive a discharge of any debts under any of
                                                    the subdivisions of 11 U.S.C. § 727(a)(2)
                                                    through (7), or
                                                  • if you want to have a debt excepted from
                                                    discharge under 11 U.S.C. § 523(a)(2),
                                                    (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be
                                                    denied under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                               Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as             conclusion of the meeting of
                                                  exempt. If you believe that the law does not authorize an       creditors
                                                  exemption claimed, you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a
                                                  proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless    will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                  not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                  exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                  www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                  debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                  objection by the deadline to object to exemptions in line 9.

                      A Photo ID is required to enter the building. Weapons, including pocket knives, are not permitted in the building.

Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                         page 2
